Codé  sQase\e7-cv-00007-JCN Document 1848 #Kiled 07/21/17 Pagecwotdrd PagelD#ti€5 Owner

474 Myrtle Street
A473 Nadeaus Way
479 Nancy Lane
475 Nason Street
477 Nature Park Road
476 Nazarene Drive
478 Neighbor Lane
480 New Belgrade Road
481 New England Road
484 New Oakland Road
482 Newland Avenue
674 Nitro Lane

YRS SBE NORMAND'S WAY
490 North Belfast Avenue
491 North Belfast Road
43 NO WM
492 North Chestnut Street
494 North Pearl Street
486 North Street
488 North Street Place
496 Northern Avenue
497 Norway Circle
495 Noyes Court
498 Noyes Place
487 Noyes Street
501 Noyes Street Place
499 Oak Drive
500 Oak Street
502 Oakland Road now Leighton R
504 Oakwood Road
506 Old Belgrade Road
780 Old Winthrop Road

512 Orchard Street

Thursday, October 02, 2014

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29,30,34,35,36,76,93
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DEFENDANTS 792° 15 of 24

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